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 In the United States Court of Federal Claims
                          OFFICE OF SPECIAL MASTERS
                                    No. 11-118V
                             (E-Filed: August 22, 2014)

* * * * * * * * * * * * * * *
EMILY WIRT,                 *                      UNPUBLISHED
                            *
                            *
            Petitioner,     *                      Special Master
                            *                      Hamilton-Fieldman
         v.                 *
                            *                      Decision on Attorneys’ Fees and Costs.
SECRETARY OF HEALTH AND     *
 HUMAN SERVICES,            *
                            *
            Respondent.     *                      .
* * * * * * * * * * * * * * *

Ronald C. Homer, Conway, Homer & Chin-Caplan, P.C., Boston, MA, for Petitioner.
Darryl R. Wishard, U.S. Department of Justice, Washington, DC, for Respondent.


                     DECISION1 (ATTORNEY FEES AND COSTS)

        In this case under the National Vaccine Injury Compensation Program,2 the
undersigned issued a decision on April 18, 2014. On August 22, 2014, the parties filed a
Stipulation for Attorneys’ Fees and Costs. This stipulation requests a total payment of
$55,000.00, representing total attorneys’ fees and costs. Pursuant to General Order #9,
the stipulation reflects that Petitioner incurred $437.83 in costs.
       1
         The undersigned intends to post this unpublished decision on the United States
Court of Federal Claims’ website, in accordance with the E-Government Act of 2002,
Pub. L. No. 107-347, § 205, 116 Stat. 2899, 2913 (codified as amended at 44 U.S.C. §
3501 note (2006)). As provided by Vaccine Rule 18(b), each party has 14 days within
which to request redaction “of any information furnished by that party (1) that is trade
secret or commercial or financial information and is privileged or confidential, or (2) that
are medical files and similar files the disclosure of which would constitute a clearly
unwarranted invasion of privacy.” Otherwise, “the entire” decision will be available to
the public. Id.
       2
        The applicable statutory provisions defining the program are found at 42 U.S.C.
§ 300aa-10 et seq. (2006).

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        The undersigned finds that this petition was brought in good faith and that there
existed a reasonable basis for the claim. Therefore, an award for fees and costs is
appropriate, pursuant to 42 U.S.C. § 300aa-15(b) and (e)(1). Further, the proposed
amount seems reasonable and appropriate. Accordingly, the undersigned hereby
awards the amount of $55,000.00, in the form of a check made payable jointly to
Petitioner and Petitioner’s counsel, Ronald C. Homer Esq. Additionally, the
undersigned awards the amount of $437.83, in the form of a check made payable to
Petitioner.

       In the absence of a timely-filed motion for review filed pursuant to Appendix B of
the Rules of the U.S. Court of Federal Claims, the clerk of the court shall enter judgment
in accordance herewith.

IT IS SO ORDERED.
                                                s/Lisa D. Hamilton-Fieldman
                                                Lisa D. Hamilton-Fieldman
                                                Special Master




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